                                                                      Motion GRANTED.

              IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF TENNESSEE
                       NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            ) No. 3:10-000163
           v.                               )
                                            ) JUDGE TRAUGER
                                            )
ANTHONY BROOKS                              )


               DEFENDANT BROOKS’ MOTION TO JOIN
               CO-DEFENDANTS’ MOTION FOR RELIEF
            FROM GOVERNMENT’S PROPOSED LIMITATIONS

      Defendant, Anthony Brooks (“Brooks”), respectfully

requests that this Honorable Court allow him to join

the    Motion        For   Relief     From      Government’s         Proposed

Limitations (D.E. 1110) filed by co-defendants Wilson

and Williamson.



                                            Respectfully Submitted:



                                            /s Deanna Bell Johnson
                                            Deanna Bell Johnson
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                                            Brentwood, TN 37027
                                            (615) 403-6622
                                            Attorney for Brooks



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